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Witness a United States Courts
vouthern District of Texas
FILED

JAN 13 2022

Hello Magistrate!
Nathan Ochsner, Clerk of Court

My name is Brad Turner, | am currently employed with Harris County Sheriff's Office. | help my dad
Dennis Turner pay the mortgage bill by giving him $300 dollars every month. My dad would often
complain to me about how the mortgage company would over charge him for the mortgage so | would
assist him with more funding. | am classified as a witness because he would show me letters and bills
that these companies would send in the mail and it was unclear to why they would overcharge him for
the mortgage.

Brad Turner

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